                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




 Anthony Cervantes and Adam St. Amour,
 on behalf of themselves and all others similarly
 situated,
                                   Plaintiffs,
                                                                 Case No.: 1:20-cv-10106-PBS
         v.

 CRST International, Inc., CRST Expedited, Inc.,
 and DOES 1 through 10,
                                   Defendants.



                        JOINT PROPOSED PRETRIAL SCHEDULE

       Plaintiffs Anthony Cervantes and Adam St. Amour and Defendants CRST International,

Inc. and CRST Expedited, Inc., (the “Parties”) met and conferred on a Joint Proposed Pretrial

Schedule pursuant to the Court’s Notice of Scheduling Order (DE 43) and Local Rule 16.1. As a

result of that conference, the Parties jointly propose the following.

I.   Procedural Posture

       Anthony Cervantes filed his complaint in this matter on January 17, 2020 on behalf of

himself and a proposed class of all drivers who were classified as independent contractors by

CRST under the collective action provision of the Fair Labor Standards Act, 29 U.S.C. § 216(b).

DE 1. Plaintiffs amended the complaint to add Adam St. Amour as a named plaintiff on March

20, 2020. DE 27. To date, in addition to the two named Plaintiffs, 28 individuals have filed

consents to sue in the action. On April 21, 2020, Defendants moved to dismiss the action for lack

of personnel jurisdiction, DE 36, and to transfer venue from the District of Massachusetts to the

Northern District of Iowa. DE 38 (“Motions”). Plaintiffs opposed both motions on May 29,




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2020. DE 51 and 52. Defendants filed replies in support of both motions. DE 63 and 64. The

Court has scheduled a hearing on Defendants’ motions for the same time as the Scheduling

Conference, July 8, 2020 at 2:30 p.m.

        If the Court denies Defendants’ Motions, Plaintiffs intend to promptly move for

conditional certification of a FLSA collective action and notice to the class of the opportunity to

join the action. If a conditional certification motion is granted, class members will receive notice

of the opportunity to join the action and have a period of time to do so. At the end of the notice

period, the Parties will know which and how many class members have joined the action and

will have information necessary to develop a discovery plan and engage in settlement

discussions. Should the Court grant either of Defendants’ Motions, the case will either be

dismissed as to some or all Defendants or transferred from this District to the Northern District

of Iowa.

II.   Joint Discovery Plan and Schedule for Filing of Motions

        Because the size of the class and the identity of the members are unknown at this time

and because the motion to dismiss and motion to transfer are pending, the Parties respectfully

request that they be permitted to submit a Joint Proposed Pretrial Statement, including a Joint

Discovery Plan and Schedule for Filing of Motions, within 30 days of the Court’s ruling on

Defendants’ Motions, if a Joint Proposed Pretrial Statement is still warranted.

III. ESI

        The Parties have expressed a commitment to work cooperatively and in good faith to the

greatest extent possible, including as it relates to the exchange of electronically stored

information. At this time, however, the Parties lack sufficient information about the contours of

the class to develop a process or format for electronic discovery. Accordingly, the Parties




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respectfully request that they be permitted to submit a Joint Proposed Pretrial Statement,

including a plan for discovery of electronically stored information, within 30 days of the Court’s

ruling on Defendants’ Motions, if a Joint Proposed Pretrial Statement is still warranted.

IV. Privilege and Protection of Trial-Preparation Materials

       The Parties will withhold privileged documents and prepare privilege logs consistent with

Fed. R. Civ. P. 26(b)(5) and applicable federal law.

V.   Trial by Magistrate Judge

       The Parties do not consent to trial by the magistrate judge.

VI. Settlement

       Because the size and identify of the class are unknown at this time or even whether the

action will continue in this Court, the Parties are not in a position to productively discuss

settlement. They respectfully request that they be permitted to comply with Local Rule 16.1(c)

30 days after the Court has ruled on Defendants’ Motions and, if necessary, Plaintiffs’ motion for

conditional certification of a FLSA collective action pursuant to 29 U.S.C. § 216(b) and any

notice period has run.

VII. Certifications

       The Parties’ respectfully request that they be able to file certifications pursuant to Local

Rule 16.1(d)(3) along with any future Joint Proposed Pretrial Statement.




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Dated: July 1, 2020

Respectfully submitted,

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